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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK

 DISPLAY TECHNOLOGIES, LLC,

     Plaintiff,
                                                         Case No. 1:22-cv-00488-LJL
                  v.

                                                         JURY TRIAL DEMANDED
 SONY CORPORATION OF AMERICA,

     Defendant.




  NOTICE OF DEFENDANT SONY’S FED. R. CIV. P. 12(b)(6) MOTION TO DISMISS
       FOR UNPATENTABLE SUBJECT MATTER UNDER 35 U.S.C. § 101

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 12(b)(6) and upon the

concurrently filed Memorandum of Law, Defendant Sony Corporation of America (“Sony”)

respectfully moves this Court for an Order dismissing with prejudice the Complaint (Dkt. No. 1)

of Plaintiff Display Technologies, LLC, and for such other and further relief as the Court deems

just, necessary, and proper. The grounds for Sony’s motion are that the asserted claims of

Plaintiff’s U.S. Patent No. 9,300,723 (Dkt. No. 1, Ex. A) are not eligible for patenting under 35

U.S.C. § 101. Sony respectfully requests that the Court hold oral argument on its motion to

dismiss.
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Date: April 11, 2022                Respectfully submitted,


                                     /s/ Lewis V. Popovski
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have

consented to electronic service are being served with a copy of this document via the Court’s

CM/ECF system on April 11, 2022.


                                             /s/ Lewis V. Popovski
